        Case 1:20-cv-01419-APM Document 120-3 Filed 09/03/20 Page 1 of 3



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



DOMINGO ARREGUIN GOMEZ, et al.,          )
                                         )
Plaintiffs,                              )      DECLARATION OF
                                                TIENYUN CHANG
v.                                       )
                                         )      Case No. 20-cv-01419 (APM)
DONALD J. TRUMP, et al.,                 )
                                         )
Defendants.                              )
                                         )
                                         )
MOHAMMED ABDULAZIZ                       )
ABDUL MOHAMMED, et al.,                  )
                                         )
Plaintiffs,
                                         )      Case No. 20-cv-01856 (APM)
v.                                       )
                                         )
MICHAEL R. POMPEO, et al.,               )
                                         )
Defendants.                              )
                                         )

AFSIN AKER, et al.,                      )
                                         )
Plaintiffs,                              )
v.                                       )     Case No. 20-CV-01926 (APM)
                                         )
DONALD J. TRUMP, et al.,                 )
                                         )
Defendants.                              )
                                         )
                                         )
Case 1:20-cv-01419-APM Document 120-3 Filed 09/03/20 Page 2 of 3
Case 1:20-cv-01419-APM Document 120-3 Filed 09/03/20 Page 3 of 3
